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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

    UNITED STATES OF AMERICA,                       )
                                                    )
                 Plaintiff,                         )
                                                    )
         vs.                                        )         Case No.: 19-CR-77-JB
                                                    )
    MICHAEL NISSEN,                                 )
                                                    )
                 Defendant.                         )
                  UNITED STATES’ REQUESTED JURY INSTRUCTIONS

        The United States of America requests that before the jurors deliberate in this case, they

be given the instructions listed below, and further requests permission to submit such additional

instructions as may become appropriate during the trial. 1 These instructions, prior to filing, were

sent to Kenneth Gleria, Esq., and Jack Mkhitarian, Esq., who indicate they do not have any

objections or additions at present.

        1.      1.01 and 1.02 Preliminary Instructions Before Trial and Note-Taking by Jurors,

        2.      1.03    Introduction to Final Instructions,

        3.      1.04    Duty to Follow Instructions,

        4.      2.37.1 Elements instruction for 18 U.S.C. § 875(c),

        5.      1.05    Presumption of Innocence,

        6.      1.06    Evidence – Defined,

        7.      1.07    Evidence – Direct and Circumstantial – Inferences,

        8.      1.08    Credibility of Witnesses,

        9.      1.08.1 Non-Testifying Defendant (if applicable),



1
 Unless otherwise specified, the 10th Circuit Criminal Pattern Jury Instructions come from the
2018 update to the 2011 Edition.
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       10.    Special Instruction – Police Techniques,

       11.    1.17    Expert Witness (if applicable),

       12.    1.18    On or About,

       13.    1.19    Caution – Consider Only Crime Charged,

       14.    1.20    Caution – Punishment,

       15.    1.22    Single Defendant – Multiple Counts,

       16.    1.23    Duty to Deliberate, Verdict Form,

       17.    1.30    Similar Acts,

       18.    1.37    Knowingly,

       19.    1.40    Caution – Transcript of Recorded Conversation, and

       20.    1.44    Communication with the Court.

                                                     Respectfully submitted,

                                                     JOHN C. ANDERSON,
                                                     United States Attorney

                                                     /s/ Filed Electronically July 31, 2019
                                                     PAUL J. MYSLIWIEC
                                                     ALEXANDER M.M. UBALLEZ
                                                     Assistant United States Attorneys
                                                     P.O. Box 607
                                                     Albuquerque, New Mexico 87103
                                                     (505) 346-7274

I HEREBY CERTIFY that on July 31, 2019, I
filed the foregoing electronically through the
CM/ECF system, which caused counsel of
record Kenneth Gleria, Esq. and Jack
Mkhitarian, Esq. to be served by electronic
means, as more fully reflected on the Notice
of Electronic Filing.

/s/
PAUL J. MYSLIWIEC
Assistant United States Attorney

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                      UNITED STATES’ REQUESTED INSTRUCTION NO. 1

       Members of the Jury:

       At the end of the trial, I will give you detailed guidance on the law and on how you will

go about reaching your decision. But now I simply want to generally explain how the trial will

proceed.

       This criminal case has been brought by the United States government. I will sometimes

refer to the United States as the prosecution. The United States is represented by Assistant

United States Attorneys Paul Mysliwiec and Alexander Uballez. The defendant, Michael

Nissen, is represented by his lawyers, Kenneth Gleria and Jack Mkhitarian.

       The indictment charges Michael Nissen with two counts of making threatening interstate

communications. The indictment is simply the description of the charges made by the United

States against the defendant; it is not evidence of guilt or anything else. Mr. Nissen pleaded not

guilty and is presumed innocent. He may not be found guilty by you unless all twelve of you

unanimously find that the United States has proved his guilt beyond a reasonable doubt.

       The first step in the trial will be the opening statements. The United States in its opening

statement will tell you about the evidence that it intends to put before you. Just as the indictment

is not evidence, neither is the opening statement. Its purpose is only to help you understand what

the evidence will be. It is a road map to show you what is ahead.

       After the United States’ opening statement, one of the defendant’s attorneys may make an

opening statement.

       Evidence will be presented from which you will have to determine the facts. The

evidence will consist of the testimony of the witnesses, documents and other things received into

the record as exhibits, and any facts about which the lawyers agree or to which they stipulate.



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       The United States will offer its evidence. After the United States’ evidence, the

defendant’s lawyers may present evidence, but are not required to do so. I remind you that Mr.

Nissen is presumed innocent and it is the United States that must prove the defendant’s guilt

beyond a reasonable doubt. If the defendant submits evidence, the United States may introduce

rebuttal evidence.

       At times during the trial, a lawyer may make an objection to a question asked by another

lawyer, or to an answer by a witness. This simply means the lawyer is requesting that I make a

decision on a particular rule of law. Do not draw any conclusion from such objections or from

my rulings on the objections. If I sustain an objection to a question, the witness may not answer

it. Do not attempt to guess what answer might have been given if I had allowed the answer. If I

overrule the objection, treat the answer as any other. If I tell you not to consider a particular

statement, you may not refer to that statement in your later deliberations. Similarly, if I tell you

to consider a particular piece of evidence for a specific purpose, you may consider it only for that

purpose.

       During the course of the trial, I may have to interrupt the proceedings to confer with the

attorneys about the rules of law that should apply. Sometimes we will talk briefly at the bench.

But some of these conferences will take more time so I will excuse you from the courtroom. I

will try to avoid such interruptions whenever possible, but please be patient even if the trial

seems to be moving slowly because conferences often actually save time in the end.

       You are to consider all the evidence received in this trial. It will be up to you to decide

what evidence to believe and how much of any witness’s testimony to accept or reject.

       After you have heard all the evidence on both sides, the United States and the defense

will each be given time for their final arguments.



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       The final part of the trial occurs when I instruct you on the rules of law that you are to use

in reaching your verdict.

       During the course of the trial, I may ask a question of a witness. If I do, that does not

indicate I have any opinion about the facts in the case but am only trying to bring out facts that

you may consider.

       If you would like to take notes during the trial, you may. On the other hand, you are not

required to take notes.

       If you do decide to take notes, be careful not to get so involved in note-taking that you

become distracted, and remember that your notes will not necessarily reflect exactly what was

said, so your notes should be used only as memory aids. Therefore, you should not give your

notes precedence over your independent recollection of the evidence. You should also not be

unduly influenced by the notes of other jurors. If you do take notes, leave them in the jury room

at night and do not discuss the contents of your notes until you begin deliberations.

       During the course of the trial, you should not talk with any witness or with the defendant

or with any of the lawyers at all. In addition, during the course of the trial you should not talk

about the trial with anyone else. Do not discuss the case with anyone or provide any information

about the trial to anyone outside the courtroom until the verdict is received. Do not use the

internet or any other form of electronic communication to provide any information. Simply put,

do not communicate with anyone about the trial until your verdict is received. Also, you should

not discuss this case among yourselves until I have instructed you on the law and you have gone

to the jury room to make your decision at the end of the trial. It is important that you wait until

all the evidence is received and you have heard my instructions on the controlling rules of law

before you deliberate among yourselves. Let me add that during the course of the trial you will



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receive all the evidence you properly may consider to decide the case. Because of this, you

should not attempt to gather any information or do any research on your own. Do not attempt to

visit any places mentioned in the case, either actually or on the internet, and do not in any other

way try to learn about the case outside the courtroom.

         The court reporter is making stenographic notes of everything that is said. This is

basically to assist any appeals. However, a typewritten copy of the testimony will not be

available for your use during deliberations. On the other hand, any exhibits will be available to

you during your deliberations.

         Now that the trial has begun, you must not hear or read about it in the media. The reason

for this is that your decision in this case must be made solely on the evidence presented at the

trial.

         With that introduction, Mr. Uballez, you may present the opening statement for the

United States.



Tenth Circuit Pattern Jury Instructions Criminal 1.01 (PRELIMINARY INSTRUCTIONS
BEFORE TRIAL) (modified)

Tenth Circuit Pattern Jury Instructions Criminal 1.02 (NOTE-TAKING BY JURORS
(ALTERNATIVE B))




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                  UNITED STATES’ REQUESTED INSTRUCTION NO. 2

Members of the Jury:

       In any jury trial there are, in effect, two judges. I am one of the judges, you are the other.

I am the judge of the law. You, as jurors, are the judges of the facts. I presided over the trial and

decided what evidence was proper for your consideration. It is also my duty at the end of the

trial to explain to you the rules of law that you must follow and apply in arriving at your verdict.

       In explaining the rules of law that you must follow, first, I will give you some general

instructions which apply in every criminal case – for example, instructions about burden of proof

and insights that may help you to judge the believability of witnesses. Then, I will give you

some specific rules of law that apply to this particular case and, finally, I will explain the

procedures you should follow in your deliberations, and the possible verdicts you may return.

These instructions will be given to you for use in the jury room, so you need not take notes.



Tenth Circuit Pattern Jury Instructions Criminal 1.03 (INTRODUCTION TO FINAL
INSTRUCTIONS)




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                  UNITED STATES’ REQUESTED INSTRUCTION NO. 3

       You, as jurors, are the judges of the facts. But in determining what actually happened –

that is, in reaching your decision as to the facts – it is your sworn duty to follow all of the rules

of law as I explain them to you.

       You have no right to disregard or give special attention to any one instruction, or to

question the wisdom or correctness of any rule I may state to you. You must not substitute or

follow your own notion or opinion as to what the law is or ought to be. It is your duty to apply

the law as I explain it to you, regardless of the consequences. However, you should not read into

these instructions, or anything else I may have said or done, any suggestion as to what your

verdict should be. That is entirely up to you.

       It is also your duty to base your verdict solely upon the evidence, without prejudice or

sympathy. That was the promise you made and the oath you took.



Tenth Circuit Pattern Jury Instructions Criminal 1.04 (DUTY TO FOLLOW
INSTRUCTIONS)




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                  UNITED STATES’ REQUESTED INSTRUCTION NO. 4

       The defendant, Michael Nissen, is charged in Counts 1 and 2 with a violation of 18

U.S.C. § 875(c). This law makes it a crime to transmit in interstate or foreign commerce a

threatening communication to kidnap or injure another person.

       To find the defendant guilty of this crime, you must be convinced that the government

has proved each of the following beyond a reasonable doubt:

       First: the defendant knowingly transmitted a communication containing a threat to injure

the person of another;

       Second: the defendant transmitted the communication with the intent to make a threat, or

with knowledge that the communication will be viewed as a threat;

       Third: the communication was transmitted in interstate or foreign commerce.

       A "threat" is a serious statement expressing intent to instill fear, which, under the

circumstances, would cause apprehension in a reasonable person, as distinguished from mere

political argument, idle talk, exaggeration, or something said in a joking manner. It is not

necessary that the defendant intended to or had the ability to carry out the threat.




Tenth Circuit Pattern Jury Instructions Criminal 2.37.1 (INTERSTATE TRANSMISSION OF
THREATENING COMMUNICATION, 18 U.S.C. § 875(c))




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                  UNITED STATES’ REQUESTED INSTRUCTION NO. 5

        The United States has the burden of proving Mr. Nissen guilty beyond a reasonable

doubt. The law does not require the defendant to prove his innocence or produce any evidence at

all. The United States has the burden of proving the defendant guilty beyond a reasonable doubt,

and if it fails to do so, you must find the defendant not guilty.

        Proof beyond a reasonable doubt is proof that leaves you firmly convinced of the

defendant’s guilt. There are few things in this world that we know with absolute certainty, and

in criminal cases the law does not require proof that overcomes every possible doubt. It is only

required that the United States’ proof exclude any “reasonable doubt” concerning the defendant’s

guilt. A reasonable doubt is a doubt based on reason and common sense after careful and

impartial consideration of all the evidence in the case. If, based on your consideration of the

evidence, you are firmly convinced that the defendant is guilty of the crime charged, you must

find him guilty. If, on the other hand, you think there is a real possibility that he is not guilty,

you must give him the benefit of the doubt and find him not guilty.



Tenth Circuit Pattern Jury Instructions Criminal 1.05 (PRESUMPTION OF INNOCENCE—
BURDEN OF PROOF—REASONABLE DOUBT) (modified)




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                  UNITED STATES’ REQUESTED INSTRUCTION NO. 6

       You must make your decision based only on the evidence that you saw and heard here in

court. Do not let rumors, suspicions, or anything else that you may have seen or heard outside of

court influence your decision in any way.

       The evidence in this case includes only what the witnesses said while they were testifying

under oath, the exhibits that I allowed into evidence, the stipulations that the lawyers agreed to,

and the facts that I have judicially noticed.

       Nothing else is evidence. The lawyers’ statements and arguments are not evidence.

Their questions and objections are not evidence. My legal rulings are not evidence. And my

comments and questions are not evidence.

       During the trial, I did not let you hear the answers to some of the questions that the

lawyers asked. I also ruled that you could not see some of the exhibits that the lawyers wanted

you to see. And sometimes I ordered you to disregard things that you saw or heard, or I struck

things from the record. You must completely ignore all of these things. Do not even think about

them. Do not speculate about what a witness might have said or what an exhibit might have

shown. These things are not evidence, and you are bound by your oath not to let them influence

your decision in any way.



Tenth Circuit Pattern Jury Instructions Criminal 1.06 (EVIDENCE—DEFINED)




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                  UNITED STATES’ REQUESTED INSTRUCTION NO. 7

       There are, generally speaking, two types of evidence from which a jury may properly

determine the facts of a case. One is direct evidence, such as the testimony of an eyewitness.

The other is indirect or circumstantial evidence, that is, the proof of a chain of facts that point to

the existence or non-existence of certain other facts.

       As a general rule, the law makes no distinction between direct and circumstantial

evidence. The law simply requires that you find the facts in accord with all the evidence in the

case, both direct and circumstantial.

       While you must consider only the evidence in this case, you are permitted to draw

reasonable inferences from the testimony and exhibits, inferences you feel are justified in the

light of common experience. An inference is a conclusion that reason and common sense may

lead you to draw from facts that have been proved.

       By permitting such reasonable inferences, you may make deductions and reach

conclusions that reason and common sense lead you to draw from the facts that have been

established by the testimony and evidence in this case.



Tenth Circuit Pattern Jury Instructions Criminal 1.07 (EVIDENCE—DIRECT AND
CIRCUMSTANTIAL—INFERENCES)




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                 UNITED STATES’ REQUESTED INSTRUCTION NO. 8

       I remind you that it is your job to decide whether the United States has proved the guilt of

the defendant beyond a reasonable doubt. In doing so, you must consider all of the evidence.

This does not mean, however, that you must accept all of the evidence as true or accurate.

       You are the sole judges of the credibility or “believability” of each witness and the

weight to be given to the witness’s testimony. An important part of your job will be making

judgments about the testimony of the witnesses [including the defendant], who testified in this

case. You should think about the testimony of each witness you have heard and decide whether

you believe all or any part of what each witness had to say, and how important that testimony

was. In making that decision, I suggest that you ask yourself a few questions: Did the witness

impress you as honest? Did the witness have any particular reason not to tell the truth? Did the

witness have a personal interest in the outcome in this case? Did the witness have any

relationship with either the United States or the defense? Did the witness seem to have a good

memory? Did the witness clearly see or hear the things about which he/she testified? Did the

witness have the opportunity and ability to understand the questions clearly and answer them

directly? Did the witness’s testimony differ from the testimony of other witnesses? When

weighing the conflicting testimony, you should consider whether the discrepancy has to do with

a material fact or with an unimportant detail. And you should keep in mind that innocent

misrecollection – like failure of recollection – is not uncommon.

        [The testimony of the defendant should be weighed and his credibility evaluated in the

same way as that of any other witness.]




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       In reaching a conclusion on a particular point, or ultimately in reaching a verdict in this

case, do not make any decisions simply because there were more witnesses on one side than on

the other.

Tenth Circuit Pattern Jury Instructions Criminal 1.08 (CREDIBILITY OF WITNESSES)
(modified)




                                                14
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                  UNITED STATES’ REQUESTED INSTRUCTION NO. 9

       The defendant did not testify and I remind you that you cannot consider his decision not

to testify as evidence of guilt. You must understand that the Constitution of the United States

grants to a defendant the right to remain silent. That means the right not to testify. That is a

constitutional right in this country. It is very carefully guarded, and you must not presume or

infer guilt from the fact that a defendant does not take the witness stand and testify or call any

witnesses.



Tenth Circuit Pattern Jury Instructions Criminal 1.08.1 (NON-TESTIFYING DEFENDANT)




                                                 15
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                 UNITED STATES’ REQUESTED INSTRUCTION NO. 10

       You have heard testimony as to the manner in which the United States conducted its

investigation in this case including certain investigative methods or techniques that were used

and certain investigative methods or techniques that were not used. In attempting to prove its

case, the United States is under no obligation to use all of the investigative methods that are

available to it or use any particular method. The question is whether the evidence presented is

sufficient to convince you beyond a reasonable doubt of the defendant’s guilt.



See United States v. Johnson, 479 Fed. Appx. 811, 817 (10th Cir. 2012).




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                 UNITED STATES’ REQUESTED INSTRUCTION NO. 11

       During the trial, you heard the testimony of [an expert] who expressed opinions

concerning modern telephone transmission technology. In some cases, such as this one,

scientific, technical, or other specialized knowledge may assist the jury in understanding the

evidence or in determining a fact in issue. A witness who has knowledge, skill, experience,

training or education may testify and state an opinion concerning such matters.

       You are not required to accept such an opinion. You should consider opinion testimony

just as you consider other testimony in this trial. Give opinion testimony as much weight as you

think it deserves, considering the education and experience of the witness, the soundness of the

reasons given for the opinion, and other evidence in the trial.



Tenth Circuit Pattern Jury Instructions Criminal 1.17 (EXPERT WITNESS) (modified)




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                UNITED STATES’ REQUESTED INSTRUCTION NO. 12

       You will note that the indictment charges that the crimes were committed on or about

certain dates. The United States must prove beyond a reasonable doubt that the defendant

committed each crime reasonably near those dates.



Tenth Circuit Pattern Jury Instructions Criminal 1.18 (2011) (ON OR ABOUT) (modified)




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                UNITED STATES’ REQUESTED INSTRUCTION NO. 113

       You are here to decide whether the United States has proved beyond a reasonable doubt

that Mr. Nissen is guilty of the crimes charged. The defendant is not on trial for any act,

conduct, or crime not charged in the indictment.

       It is not up to you to decide whether anyone who is not on trial in this case should be

prosecuted for the crime charged. The fact that another person also may be guilty is no defense

to a criminal charge.

       The question of the possible guilt of others should not enter your thinking as you decide

whether the defendant has been proved guilty of the crime charged.



Tenth Circuit Pattern Jury Instructions Criminal 1.19 (CAUTION—CONSIDER ONLY
CRIME CHARGED) (modified)




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                UNITED STATES’ REQUESTED INSTRUCTION NO. 14

       If you find the defendant guilty, it will be my duty to decide what the punishment will be.

You should not discuss or consider the possible punishment in any way while deciding your

verdict.



Tenth Circuit Pattern Jury Instructions Criminal 1.20 (CAUTION—PUNISHMENT (Non-
Capital Cases)) (modified)




                                               20
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                 UNITED STATES’ REQUESTED INSTRUCTION NO. 15

       A separate crime is charged against the defendant in each count of the indictment. You

must separately consider the evidence against the defendant on each count and return a separate

verdict for each count.

       Your verdict as to any one count, whether it is guilty or not guilty, should not influence

your verdict as to the other count.



Tenth Circuit Pattern Jury Instructions Criminal 1.22 (SINGLE DEFENDANT—MULTIPLE
COUNTS) (modified)




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                 UNITED STATES’ REQUESTED INSTRUCTION NO. 16

       In a moment, you will be escorted to the jury room and each of you will be provided with

a copy of the instructions I have just read. Any exhibits admitted into evidence will also be

placed in the jury room for your review.

       When you go to the jury room, you should first select a foreperson who will help guide

your deliberations and will speak for you here in the courtroom. The second thing you should do

is review the instructions. Not only will your deliberations be more productive if you understand

the legal principles upon which your verdict must be based, but for your verdict to be valid, you

must follow the instructions throughout your deliberations. Remember, you are the judges of the

facts, but you are bound by your oath to follow the law stated in the instructions.

       To reach a verdict, whether it is guilty or not guilty, all of you must agree. Your verdict

must be unanimous on each count of the indictment. Your deliberations will be secret. You will

never have to explain your verdict to anyone.

       You must consult with one another and deliberate in an effort to reach agreement if you

can do so. Each of you must decide the case for yourself, but only after an impartial

consideration of the evidence with your fellow jurors. During your deliberations, do not hesitate

to re-examine your own opinions and change your mind if you are convinced that you were

wrong. But do not give up your honest beliefs solely because of the opinion of your fellow

jurors, or for the mere purpose of returning a verdict.

       Remember at all times, you are judges – judges of the facts. You must decide whether

the United States has proved the defendant guilty beyond a reasonable doubt.

       A form of verdict has been prepared for your convenience.




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       If you need to communicate with me during your deliberations, the foreperson should

write the message and give it to the Court Security Officer. I will either reply in writing or bring

you back into the court to respond to your message. Under no circumstances should you reveal

to me the numerical division of the jury.

       Faithful performance by you of your duties is vital to the administration of justice.



Tenth Circuit Pattern Jury Instructions Criminal 1.23 (DUTY TO DELIBERATE—VERDICT
FORM) (modified)




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                 UNITED STATES’ REQUESTED INSTRUCTION NO. 17

       You have heard evidence of other [crimes] [acts] [wrongs] engaged in by the defendant.

You may consider that evidence only as it bears on the defendant’s [e.g., motive, opportunity,

intent, preparation, plan, knowledge, identity, absence of mistake or accident] and for no other

purpose. Of course, the fact that the defendant may have previously committed an act similar to

the one charged in this case does not mean that the defendant necessarily committed the act

charged in this case.



Tenth Circuit Pattern Jury Instructions Criminal 1.30 (SIMILAR ACTS) (modified)




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                 UNITED STATES’ REQUESTED INSTRUCTION NO. 19

       During this trial, you have heard sound recordings of certain conversations. These

conversations were legally recorded; they are a proper form of evidence and may be considered

by you as you would any other evidence. You were also given transcripts of those recorded

conversations.

       Keep in mind that the transcripts are not evidence. They were given to you only as a

guide to help you follow what was being said. The recordings themselves are the evidence. If

you noticed any differences between what you heard on the recordings and what you read in the

transcripts, you must rely on what you heard, not what you read. If you could not hear or

understand certain parts of the recordings, you must ignore the transcript as far as those parts are

concerned.



Tenth Circuit Criminal Pattern Jury Instructions 1.40 (CAUTIONARY INSTRUCTION
DURING TRIAL – TRANSCRIPT OF RECORDED CONVERSATION)




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                 UNITED STATES’ REQUESTED INSTRUCTION NO. 20

       If you want to communicate with me at any time during your deliberations, please write

down your message or question and give it to [the marshal] [court room deputy], who will bring

it to my attention. I will respond as promptly as possible, either in writing or by having you

return to the courtroom so that I can address you orally. I caution you, however, that with any

message or question you might send, you should not tell me any details of your deliberations or

indicate how many of you are voting in a particular way on any issue.

       Let me remind you again that nothing I have said in these instructions, nor anything I

have said or done during the trial and sentencing proceedings, was meant to suggest to you what

I think your decision should be. That is your exclusive responsibility.



Tenth Circuit Pattern Jury Instructions Criminal 1.44 (COMMUNICATION WITH THE
COURT) (modified)




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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


 UNITED STATES OF AMERICA,                  )
                                            )
              Plaintiff,                    )        Criminal Case No.: 19-CR-77-JB
                                            )
       vs.                                  )
                                            )
 MICHAEL NISSEN,                            )
                                            )
              Defendant.                    )

                                     VERDICT

COUNT 1

               WE, the jury, find the defendant, MICHAEL NISSEN, _____________________
                                                                   (guilty or not guilty)
as charged in Count 1 of the indictment.

COUNT 2

               WE, the jury, find the defendant, MICHAEL NISSEN, _____________________
                                                                   (guilty or not guilty)
as charged in Count 2 of the indictment.




                                                ______________________________
                                                FOREPERSON




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